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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS

JUSTIN TAROVISKY, et al.,                    )
                                             )
          Plaintiffs,                        )
                                             )
v.                                           )       No. 19-4C
                                             )       (Judge Campbell-Smith)
UNITED STATES OF AMERICA,                    )
                                             )       Collective Action
          Defendant.                         )
                                             )


     PLAINTIFFS’ NOTICE OF FILING ADDITIONAL SET OF OPT-IN CONSENT
             FORMS PURSUANT TO COURT’S JANUARY 14, 2021 ORDER

          Pursuant to the Court’s January 14, 2021 Order (ECF No. 119), Plaintiffs submit the

attached opt-in notices for 160 additional individuals who submitted consent forms to join this

case. Plaintiffs also submit the attached summary chart listing the required information for the

43,620 total plaintiffs whose consent forms we have submitted to date (ECF Nos. 151, 136, 135,

129–31, 127, 124, 122, 120–21, 118, 114–115, 107–110, 86, 78–84), as well as the 17 named

plaintiffs previously set forth in the July 15, 2020 Multiple Plaintiffs Summary Status Report, ECF

No. 58.




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                                    Respectfully submitted,

                                     s/ Heidi R. Burakiewicz
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                                    Of Counsel for the Plaintiffs

Date: July 22, 2021




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                                CERTIFICATE OF SERVICE

       I certify that on the date below, the foregoing Plaintiffs’ Notice of Filing was filed

electronically and served electronically on Defendant’s counsel of record by the court’s electronic

filing system.



                                                     s/ Heidi R. Burakiewicz
                                                     Heidi R. Burakiewicz


Date: July 22, 2021




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